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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA
                                PITTSBURGH DIVISION

 Jacky Dale Hamrick, Individually and For              Case No. 2:21-cv-00470-LPL
 Others Similarly Situated,

      Plaintiff,

 v.

 Enbridge (U.S.), Inc.,

      Defendant.


                          PART 1: CONSENT TO JURISDICTION BY
                           UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of Section 636(c)(1) of Title 28, United States Code, I
voluntarily consent to have a United States Magistrate Judge conduct any and all further proceedings
in the case, including trial and entry of a final judgment, with direct review by the United States Court
of Appeals for the Third Circuit if an appeal is filed.

Date: June 1, 2021                                      /s/ Andrew W. Dunlap____________
                                                        Signature

                                                        Andrew W. Dunlap______________
                                                        Print Name


                             PART 2: DISTRICT JUDGE OPTION

        Pursuant to Section 636(c)(2) of Title 28, United States Code, I acknowledge the availability
of a United States Magistrate Judge but I elect to have this case randomly assigned to a United States
District Judge.


Date: _______________________                           ____________________________________
                                                        Signature

                                                        ____________________________________
                                                        Print Name




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